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       Case 2:19-mj-04978-DUTY *SEALED* Document 2-1 *SEALED* Filed 11/22/19 Page 1 of 12
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AO 93 (Rev. 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17)




                                              UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                    Central District of California

                          In the Matter of the Search of                               )      AMENDED to reflect corrected address in
                  (Briefly describe the property to be searched or ident(    the       )      Affidavit
                                  person by name and address)
                                                                                       )
                                                                                              Case No. 19-MJ-04978
           White Nissan Sentra                                                         )
           CA license plate number 7EVM912                                             )
           VIN: 3N1CB51D14L843044.                                                     )
           ("SUBJECT VEHICLE")                                                         )
                                                                                       )

                                                      SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identifr the person or describe the property to be searched
and give its location):


        See Attachment A-2

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identifr the person or describe the property to be seized):

        See Attachment B

        Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
        [g] in the daytime 6:00 a.m. to 10:00 p.m. 0                        at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
      0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for       days (not to exceed 30)          0 until, the facts justifying, the later specific date of


Date and time issued:                II                       tc't 12          MO
                                                                                                                   Judge' sign


City and state:               Los Angeles, CA                                                      Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                                                 Printed name and title


AUSA: Billy Joe McLain x6702
        ,. Case 2:19-mj-04978-DUTY Document 4 Filed 12/11/19 Page 2 of 2 Page ID #:107
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                                                                    Return
Case No.: 19-MJ-04978                    Date and time warrant executed:         Copy of warrant and inventory left with:
                                          December 3, 2019 at 6:00am               Julio Moreno
Inventory made in the presence of:
     N/A
Inventory of the property taken and name of any person(s) seized:


               Zero items were seized.




                                                                 Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.
                                                                                                                         .
Date:        December 11, 209
                                                                                         Executing officer's signature

                                                                       SA Rosemary Ramirez
                                                                                             Printed name and title
